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                                                                                                                                                                                  Additional
      Document                                                                                                                                                       Submitting   Submitting
Doc # Barcode          Attachment Barcode From              To              Subject                               Attachment Title                 Meeting Reference Party        Party
  0A 20160805-91741    20160805-91741-01 Kevin Orsini       David Cordell   CSC Sugar                             2016.08.04 Letter.pdf                              CSC
                                                                                                                  Mexico Bulk Sugar Logistics
                       20160805-91741-02                                                                          08032016.pdf

                                                                          RE: Pending items in preparation
   1 20160808-35800                         Sally Gannon    Kenneth Smith for meeting with Paul Piquado                                       8/4/2016               GOM          DOC
                                                                                                                  16-8-10 DOC Meeting Package
                                                                                                                  PRE DECISIONAL INFORMATION References
                                                                            PRE DECISIONAL INFORMAITON            NOT FOR PUBLIC              possible 8/10/16
   2 20160810-34433    20160810-34433-01    Robert Cassidy Paul Piquado     NOT FOR PUBLIC DISCLOSURE             DISCLOSURE.pdf              meeting                ASC
                                                                            RE: PRE DECISIONAL
                                                                            INFORMAITON NOT FOR PUBLIC
   3 20160810-52400                         Sally Gannon    Charles Levy    DISCLOSURE                                                                               ASC

  3A 20160811-104527                        Kevin Orsini    Sally Gannon    Re: one question on CSC's slides                                                         CSC          DOC
   4 20160816-54300                         Sally Gannon    Charles Levy    RE: touching base                                                                        ASC          DOC

   5 20160817-14008                         Aristeo Lopez   Ryan Rhodes     FW: Upcoming meetings re: Sugar                                                          GOM          DOC

                                                                            PRE-DECISIONAL INFORMATION; 16-8-16 END USE
   6 20160818-101322 20160818-101322-01 Robert Cassidy Sally Gannon         NOT FOR PUBLIC DISTRIBUTION MONITORING.pdf                             8/18/2016, 11AM ASC

                                                                                                                  16-8-16 End Use Self Reporting
                       20160818-101322-02                                                                         vs TRQ Protocol.pdf              8/18/2016, 11AM ASC
                                                            Lynn Fischer                                          2016_08_19 US Sugar Market
   7 20160822-14144    20160822-14144-01    Gregory Spak    Fox             Sugar                                 Update Imperial (3).PDF                            IMP
                                                                                                                                                   8/16/2016, 4:15
  7A 20160823-45125    20160823-45125-01    Kevin Orsini    Sally Gannon    Re: one question on CSC's slides CSC Overview.pdf                      PM                CSC
                                                                            RE: Could you please send the ITC
   8 20160829-34253    20160829-34253-01    Barbara Fecso Sally Gannon      list of cane refiners?            Needs Calc Example.xlsx                                USDA         DOC



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                                                       Lynn Fischer                                            Compares Proposals 1 and 2 with
 9 20160830-81226    20160830-81226-01   Barbara Fecso Fox               FW: Per Your Request, Alexis          formula for contingency.xlsx                       USDA
                                                                                                               POSSIBLE ALTERNATIVES TO
                                                                                                               BOTH THE COALITION (Joy) Ron
                     20160830-81226-02                                                                         TRK (Joy) bf.docx                                  USDA
                                                         Lynn Fischer
10 20160831-95126    20160831-95126-01   Gregory Spak    Fox             Sugar                                 Sugar Negotiation.pdf                              IMP

                                                        Lynn Fischer     PRE DECISIONAL INFORMATION;
11 20160902-115855                       Robert Cassidy Fox              NOT FOR PUBLIC DISCLOSURE
                                                        Lynn Fischer                                  DOC Draft Proposal Revised
12 20160905-91416    20160905-91416-01   Gregory Spak Fox                RE: Sugar                    090116.docx                                                 IMP     DOC
                                                                         Revised DOC Proposal for yourDOC Draft Proposal REVISED
13 20160906-41500    20160906-41500-01   Sally Gannon    Charles Levy    clients                      090616.docx                                 9/6/2016        DOC
                                                                         FW: Revised DOC Proposal for DOC Draft Proposal REVISED
14 20160907-90700    20160907-90700-01   Sally Gannon    Gregory Spak    your clients                 090616.docx                                                 DOC
                                                                                                      GOM Handout from 9 2 2016
15 20160907-30224    20160907-30224-01   David Cordell   Robert Cassidy Handout from Meeting with GOM Meetingsent to ASC.pdf                      9/2/16, 11AM    GOM     DOC
                                                                        RE: Revised DOC Proposal for
16 20160908-112731                       Gregory Spak    Sally Gannon your clients                                                                                IMP

                                                                                                                                                  References 9/2016
                                                                                                                                                  call and possible
                                                                         RE: technical meeting-Mexican                                            9/13/2016
17 20160908-122400                       Sally Gannon    Aristeo Lopez   Sugar                                                                    meeting           GOM   DOC

                                                     Lynn Fischer        RE: Handout from Meeting with         16-9-6 Price charts Raw, Refined
18 20160913-121459 20160913-121459-01 Robert Cassidy Fox                 GOM                                   and Mexico price charts.docx                       ASC

                                                                         SUA Letter to Secretary Pritzker      SUA Ltr to Secretary Pritzker
                                                                         (U.S.-Mexico Sugar Suspension         (U.S.-Mexico Sugar Suspension
19 20160919-50859    20160919-50859-01   Jim DuBeau      Zobie Davis     Agreements)                           Agreements) 9-19-2016.pdf                          SUA



                                                                                           2
                                                Case 1:17-cv-00214-LMG Document 67-2                  Filed 10/11/18   Page 3 of 24
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                                                                        FW: Pre-Decisional Negotaiting
20 20160922-94439     20160922-94439-01   Charles Levy   Sally Gannon   Information                     DOC005.pdf                                    ASC
                      20160922-94439-02                                                                 DOC000.pdf
                                                                        FW: Revised proposal with minor DOC Draft Proposal 092616
21 20160927-101400 20160927-101400-01 Sally Gannon       Charles Levy   changes                         NEW.docx                                      DOC
                                                                        RE: Revised proposal with minor
22 20160927-104900                        Sally Gannon   Charles Levy   changes                                                                       DOC   USDA
                                                                                                                                  References
                                                                    PRE DECISIONAL NEGOTIATION                                    meetings with
                                                                    INFORMATION--NOT FOR PUBLIC 16-9-27 DOC Draft Proposal        GOM week of Sept.
23   20160927-110948 20160927-110948-01 Robert Cassidy Sally Gannon DISCLOSURE                      NEW rev 1.docx                26                  ASC   DOC
                                                                                                                                  References
                                                                    RE: PRE DECISIONAL                                            meetings with
                                                                    NEGOTIATION INFORMATION--       DOC Draft Proposal 092716 NEW GOM week of Sept.
24   20160927-20600 20160927-20600-01 Sally Gannon Robert Cassidy NOT FOR PUBLIC DISCLOSURE         Noon CLEAN.docx               26                  ASC   DOC
                                                                                                                                  References
                                                                    RE: PRE DECISIONAL                                            meetings with
                                                                    NEGOTIATION INFORMATION--                                     GOM week of Sept.
25   20160927-21200                     Sally Gannon Robert Cassidy NOT FOR PUBLIC DISCLOSURE                                     26                  ASC   DOC
                                                                                                                                  References
                                                                                                                                  meeting 9/29/16
26   20160927-40100                     Sally Gannon Kenneth Smith RE: Sugar meetings this week                                   2pm                 GOM   DOC
                                                                                                    Imperial Sugar - Documents on
27   20160927-62215 20160927-62215-01 Kristina Zissis Sally Gannon RE: Sugar: Polarity and prices   Polarity.pdf                                      IMP   DOC
                                                                    RE: Mexican sugar--meeting with
28   20161005-63900                     Sally Gannon Charles Levy   Lynn                                                          10/6/2016, 11AM     ASC   DOC
                                                                    RE: formula used to get from
29   20161006-122023                    Robert Cassidy Sally Gannon polarity to purity                                                                DOC

                                                         Lynn Fischer   PRE DECISIONAL INFORMATION -
30 20161012-124024                        Robert Cassidy Fox            NOT FOR PUBLIC DISCLOSURE                                                     ASC
                                                                                                           DOC Draft Proposal 092716 NEW
31 20161012-93017     20161012-93017-01   Mark Ross      Gregory Spak   Documents for Sugar                Noon CLEAN.pdf                             DOC



                                                                                       3
                                                Case 1:17-cv-00214-LMG Document 67-2                     Filed 10/11/18    Page 4 of 24
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                                                                                                           DOC Draft Proposal NEW 10 AM
                      20161012-93017-02                                                                    100616.pdf                   10/6/2016, 11AM DOC
                                                                                                           Imperial"s Comments to DOC
                                                                                                           Draft Proposal NEW 10 AM
 32 20161013-34639    20161013-34639-01   Gregory Spak    Mark Ross       FW: Documents for Sugar          100616.docx                                  IMP              DOC
                                                          Lynn Fischer    BLUF Follow up from last meeting MEXICAN
 33 20161019-51338    20161019-51338-01   David Cordell   Fox             from GOM                         POSITION_V_USDOC.PDF                         GOM
                                          Juan Carlos
 34 20161020-85941                        Baker           Paul Piquado    Fwd: Regards and next week                                                         GOM

 35 20161024-105230                       Robert Cassidy Sally Gannon     RE: Documents for Sugar                                                            ASC         IMP
 36 20161025-60200 20161025-60200-01      David Cordell Charles Levy      List of Ports                       Ports of Entry.docx                            DOC
                    20161025-60200-02                                                                         ITC list.pdf                                   DOC
 37 20161025-61042                        Charles Levy    David Cordell   RE: List of Ports                                                                  ASC

 38 20161026-110000                       Sally Gannon    Charles Levy    RE: got your voicemail question                                                    DOC

                                                                                                                                                             References
                                                                                                                                                             10/26/16
                                                                                                                                                             meeting with
                                                                          PREDECISIONAL INFORMATION -                                                        GOM/Camar
 39 20161026-23955                        Robert Cassidy Sally Gannon     NOT FOR PUBLIC DISCLOSURE                                                          a            DOC
                                                                          RE: ACTION NEEDED: Talking
                                                          Ronald          Points, as discussed, for today"s
 40 20161028-94600                        Sally Gannon    Baumgarten      Sugar Meeting                                                                      USTR        USDA
 41 20161114-22051                        Paul Farmer     Sally Gannon    Mexico- Sales and shipments

 42 20161117-62110    20161117-62110-01   Kenneth Smith Sally Gannon      Mexican draft proposal              Draft Term Sheet Nov 17.docx   11/18/16, 1PM   MEX

 43 20161117-62500                        Sally Gannon    Kenneth Smith RE: Mexican draft proposal                                           11/18/16, 1PM   GOM         DOC
                                                                        Sweetener Users Meeting Follow
43A 20161118-120324                       Rick Pasco      Samuel Ruddy Up                                                                    11/16/16, 3PM   SUA
                                                                                                              New Approach to the
 44 20161118-61056    20161118-61056-01   Rory Leraris    Sally Gannon    RE: Sugar--meeting next week        Problem.pdf                    11/17/16, 2PM   CSC         DOC


                                                                                              4
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45 20161121-115537 20161121-115537-01 Thomas Earley Sally Gannon       Sugar price discussion              sss-m-339.pdf                                      SUA
                                                                                                           SoslandSweetenerReport for
                    20161121-115537-02                                                                     2016-11-16.pdf                                     SUA
                                                                                                           Sosland sweetener email 11-18-
                    20161121-115537-03                                                                     16.pdf                                             SUA
                    20161121-115537-04                                                                     Sally Gannon note.docx                             SUA
                                                                                                                                             References
                                                                                                           Sugar CVD Agreement               meeting following
46 20161122-55102   20161122-55102-01    Kenneth Smith Sally Gannon    GOM Sugar proposal                  REVISED.docx                      week              MEX
                                                                       Fwd: Tendering System Bullets       Tendering System Bullets 112516
47 20161125-35102   20161125-35102-01    Sally Gannon   Kenneth Smith 112516 KS                            KS.docx                                            DOC    MEX
                                                                       Please see: GOM/Industry
48 20161128-45700   20161128-45700-01    Sally Gannon   Robert Cassidy Proposal and DOC Proposal           DOC Proposal 112816 clean.pdf                      DOC    MEX

                                                                                                           Sugar CVD Agreement REVISED
                    20161128-45700-02                                                                      from GOM-Industry 112216.docx                      DOC    MEX
                                                                                                                                         References
                                                                                                                                         meetings with
                                                                                                                                         GOM and Camara
                                                                                                                                         week of Nov. 28,
49 20161129-42200   20161129-42200-01    Sally Gannon   Gregory Spak   DOC Proposal--CLOSE-HOLD            DOC Proposal 112816 clean.pdf 2016                 DOC

50 20161130-94600                        Sally Gannon   Robert Cassidy RE: Suggestion                                                                         ASC    DOC
                                                                                                                                             Referencing a
                                                                       Follow up on Wednesdays                                               phone call on
51 20161201-91320                        Paul Farmer    Sally Gannon   conference call                                                       11/30/16         CSC

52 20161201-63800                        Sally Gannon   Robert Cassidy RE: Mexican Sugar                                                                      ASC    DOC

53 20161201-73945                        Sally Gannon   Kenneth Smith Re: Next steps?                                                        12/2/16, 1PM     MEX    DOC




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                                                                                                           16-12-1 ASC recommendations
                                                                                                           for counter proposal to GOM
                                                                                                           PREDECISIONAL INFORMATION
                                                                        PREDECISIONAL INFORMATION          NOT FOR PUBLIC
54 20161201-84318    20161201-84318-01   Robert Cassidy Paul Piquado    NOT FOR PUBLIC DISCLOSURE          DISCLOSURE 1.docx                                 ASC    DOC

                                                                                                           16-12-1 ASC recommendations
                                                                                                           for counter proposal to GOM
                                                                        CORRECTED PREDECISIONAL            PREDECISIONAL INFORMATION
                                                                        INFORMATION NOT FOR PUBLIC         NOT FOR PUBLIC DISCLOSURE
55 20161202-92134    20161202-92134-01   Charles Levy   Paul Piquado    DISCLOSURE                         1.docx                                            ASC    DOC

                                                                       here is the language we handed      DOC - USDA Additional Supply
56 20161202-35700 20161202-35700-01      Sally Gannon   Robert Cassidy over on Additional Needs            Language 120216.docx                              DOC    USDA
57 20161205-115200                       Sally Gannon   Gregory Spak RE: feedback for DOC                                                                    IMP

58 20161205-20900                        Sally Gannon   Kenneth Smith RE: Next steps                                                                         GOM    DOC
59 20161207-111227                       Ronald Lord    Sally Gannon FW: technical questions                                                                 USDA   DOC

                                                                        PREDECISIONAL INFORMATION;
60 20161208-52214                        Charles Levy   Paul Piquado    NOT FOR PUBLIC DISCLOSURE                                                            ASC

                                                                                                                                          Referencing a
                                                                                                                                          possible meeting
61 20161209-71844                        Sally Gannon   Aristeo Lopez   Re: Meetings on Sugar next week                                   on 12/12/16        GOM    DOC

                                                                                                                                          Referencing a
                                                                        RE: USG proposal - Additional US                                  possible meeting
62 20161212-43500                        Sally Gannon   Aristeo Lopez   Needs                                                             on 12/12/16        GOM    DOC
                                                                        Mexico"s latest proposal-Close-
63 20161212-81537    20161212-81537-01   Sally Gannon   Charles Levy    Hold                             Sugar- Mexicos proposal.docx                        DOC



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                                                                        Fwd: Mexico"s latest proposal-
64 20161212-81731    20161212-81731-01   Sally Gannon   Gregory Spak    Close-Hold                         Sugar- Mexicos proposal.docx                     DOC
                                                                                                                                          Referencing a
                                                                       RE: USG proposal - Additional US                                   meeting 12/13/16,
65 20161213-100600                       Sally Gannon   Aristeo Lopez  Needs                                                              3pm               GOM   DOC
                                                                       RE: Mexico"s latest proposal-
66 20161213-104635                       Gregory Spak   Sally Gannon Close-Hold                                                                             IMP
                                                                       Follow-up questions on end-use
67 20161215-100900                       Sally Gannon   Robert Cassidy authority                                                                            DOC
                                                                       RE: Follow-up questions on end-
68 20161215-45500                        Sally Gannon   Charles Levy   use authority                                                                        ASC   DOC

                                                                  PREDECISIONAL INFORMATION; 16-12-18 ASC proposal for
69 20161219-85126 20161219-85126-01 Charles Levy     Paul Piquado NOT FOR PUBLIC DISCLOSURE     consideration by DOC.docx                                   ASC
                                                                  RE: PREDECISIONAL
                                                                  INFORMATION; NOT FOR PUBLIC
70 20161219-114000                    Sally Gannon Charles Levy   DISCLOSURE                                                                                ASC   DOC
                                                                  RE: PREDECISIONAL
                                                                  INFORMATION; NOT FOR PUBLIC
71 20161219-121430                    Robert Cassidy Sally Gannon DISCLOSURE                                                                                ASC
                                                                                                16-12-18 ASC proposal for
72 20161219-123100 20161219-123100-01 Sally Gannon Kenneth Smith U.S. Industry Counter-Proposal consideration by DOC.docx                                   DOC

73 20161222-95600                        Sally Gannon   Robert Cassidy RE: your voicemail                                                                   DOC   ASC
74 20161223-124827                       Gregory Spak   Paul Piquado RE: Sugar                                                                              IMP   DOC
75 20161223-23122 20161223-23122-01      Gregory Spak   Paul Piquado RE: Sugar                             Suspension_Agreements.pdf                        IMP
                                                                                                                                          References
                                                                       Re: Termination provisions of the                                  possible 3/7/17
76 20170307-65309                        Sally Gannon   Robert Cassidy suspension agreements                                              meeting           ASC   DOC

                                                                     Suggestions for press release and
77 20170309-75520                        Kenneth Smith Earl Comstock press conference tomorrow                                                              GOM
                                                                     Re: Paragraph for Draft Press
78 20170310-65300                        James Rockas Kenneth Smith Release                                                                                 DOC


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79 20170315-124632 20170315-124632-01 Gregory Spak       Sally Gannon   Sugar negotiations                  Imperial_SA-Negotiations.pdf                      IMP

                                                                        RE: Meeting at the Department of
                                                        Carole          Commerce Monday, 3/20 with                                          3/20/2017 10AM;
80 20170317-112305                       Robert Cassidy Showers         Ron Lorentzen                                                       3/21/17 11AM    ASC      DOC
                                                                        Re: Mexico -Sugar Suspension
81 20170321-11719                        Earl Comstock Paul Farmer      Agreement                                                                             CSC    DOC

82 20170321-41934                        Earl Comstock Robert Cassidy Sugar Negotiations                                                                      ASC    DOC
                                                                      Department of Commerce
                                                                      Proposal on Mexican Sugar             DOC Proposal to GOM
83 20170324-35100    20170324-35100-01   Sally Gannon Kenneth Smith Suspension Agreements                   032417.pdf                                        DOC

                                                                    RE: Department of Commerce                                              References
                                                                    Proposal on Mexican Sugar                                               possible 3/30/2017
84 20170324-41500                        Sally Gannon Kenneth Smith Suspension Agreements                                                   meeting            GOM   DOC
                                                                    Re: CSC Sugar/ Mexico
85 20170325-12046                        Earl Comstock Paul Farmer  Suspension Agreement                                                                      CSC    DOC
                                                                                                                                            References
                                                                        Re: CSC Sugar- This is the deal                                     meeting with
                                                                        that would work. And the last of                                    Secretary 3/28/17,
86 20170327-33901                        Earl Comstock Paul Farmer      my emails.                                                          3:30 pm            CSC   DOC
                                                                        RE: Department of Commerce
                                                         Ronald         Proposal on Mexican Sugar           preliminary comments on sugar
87 20170329-42428    20170329-42428-01   Aristeo Lopez   Lorentzen      Suspension Agreements               proposal.pdf                                      GOM    DOC

                                                         Sharon Bomer
88 20170403-102000                       Sally Gannon    Lauritsen    RE: Follow Up                                                                           USTR   DOC
                                                                                                                                            4/4/17 10AM;
89 20170404-111606                       Gregory Spak    Sally Gannon   RE: Meeting                                                         4/5/17 11:45AM    IMP    DOC
90 20170404-12944 20170404-12944-01      Aristeo Lopez   Sally Gannon   Additional information              EL y AB Scenario.pdf                              GOM
                                         Annelies                                                           REV DOC Proposal Addl Supply
91 20170404-40240    20170404-40240-01   Winborne        Sally Gannon   RE: Additional supplies             040417 abw.docx                                   USTR   DOC


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                                                                          Re: Move meeting to 11:05 am
 92 20170405-102643                       Michael Gorrell Earl Comstock                                                                                      IMP    DOC
                                                                                                                                           References
                                                                                                                                           Meeting with
                                                                                                                                           Secretary 4/11/17,
 93 20170407-90819                        Earl Comstock Robert Cassidy Re: RESCHEDULE Today"s Call                                         9:30 am            ASC   DOC

                                                                          Re: Department of Commerce
                                                        Ronald            Proposal on Mexican Sugar
 94 20170417-35950                        Kenneth Smith Lorentzen         Suspension Agreements                                                              GOM    DOC

                                                                          Re: Department of Commerce
                                                        Ronald            Proposal on Mexican Sugar
 95 20170417-40000                        Kenneth Smith Lorentzen         Suspension Agreements                                                              GOM    DOC

 96 20170417-45300    20170417-45300-01   Sally Gannon   Robert Cassidy DOC Proposal                         REV DOC Proposal 041717.pdf                     DOC

 97 20170417-45400    20170417-45400-01   Sally Gannon   Gregory Spak     FW: DOC Proposal                   REV DOC Proposal 041717.pdf                     DOC

97A 20170417-45800    20170417-45800-01   Sally Gannon   Kevin Orsini     DOC Proposal                       REV DOC Proposal 041717.pdf                     DOC
 98 20170417-50445                        Gregory Spak   Sally Gannon     RE: DOC Proposal                                                                   IMP    DOC

 99 20170417-81557                        Robert Cassidy Sally GannonRE: DOC Proposal                                                                        ASC    DOC
100 20170418-62946                        Gregory Spak Sally Gannon  RE: DOC Proposal                                                                        IMP    DOC
                                                                     Predecisional Information Not for
101 20170419-124025                       James Cannon Earl Comstock Public Disclosure                                                                       ASC
                                                                                                             Comments on DOC draft (2) -
                                                                                                             wjp 19j2017 v3 - formula
102 20170419-10404    20170419-10404-01   Paul Farmer    Sally Gannon   CSC Comments                         penalty.docx                                    CSC
                                                                        RE: Predecisional Information Not
103 20170419-13300                        Sally Gannon   Robert Cassidy for Public Disclosure                                                                ASC    DOC

104 20170420-91900    20170420-91900-01   Sally Gannon   Robert Cassidy Revised DOC Sugar Proposal           REV DOC Proposal 042017.pdf   4/21/17, 11am     DOC



                                                                                         9
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105 20170420-92200    20170420-92200-01   Sally Gannon   Gregory Spak   Revised DOC Sugar Proposal         REV DOC Proposal 042017.pdf                      DOC

106 20170420-92400    20170420-92400-01   Sally Gannon   Paul Farmer    Revised DOC Sugar Proposal         REV DOC Proposal 042017.pdf                      DOC

107 20170421-92351    20170421-92351-01   Paul Farmer    Sally Gannon   RE: Revised DOC Sugar Proposal     response to DOC 04212017.pdf                     CSC    DOC

                                                                   RE: Predecisional Information;          REV DOC Proposal 042117 1245
108 20170421-124500 20170421-124500-01 Sally Gannon Robert Cassidy Not for Public Disclosure               PM.pdf                                           ASC    DOC
                                                                   Predecisional Information; Not
109 20170421-13156                     Robert Cassidy Sally Gannon for Public Disclosure                                                                    ASC    DOC

110 20170421-14728                        Gregory Spak   Sally Gannon   RE: Revised DOC Sugar Proposal                                                      IMP    DOC

111 20170421-62122                        Earl Comstock Paul Farmer    Re: MEXICO Sugar                                                                     CSC    DOC
                                                                       Revised DOC Sugar Proposal for
                                                                       GOM"s/Mexican Industry"s
112 20170424-65800    20170424-65800-01   Sally Gannon   Kenneth Smith Consideration                       REV DOC Proposal 042417.pdf                      DOC
                                                                       Revised DOC Sugar Proposal for
                                                                       GOM"s/Mexican Industry"s
113 20170424-70300    20170424-70300-01   Sally Gannon   Charles Levy  Consideration                       REV DOC Proposal 042417.pdf                      DOC
                                                                       Revised DOC Sugar Proposal for
                                                                       GOM"s/Mexican Industry"s
114 20170424-70400    20170424-70400-01   Sally Gannon   Gregory Spak Consideration                        REV DOC Proposal 042417.pdf                      DOC
                                                                       Revised DOC Sugar Proposal for
                                                                       GOM"s/Mexican Industry"s
115 20170424-70600    20170424-70600-01   Sally Gannon   Paul Farmer   Consideration                       REV DOC Proposal 042417.pdf                      DOC
                                                                       RE: Revised DOC Sugar Proposal
                                                                       for GOM"s/Mexican Industry"s
116 20170424-70700                        Sally Gannon   Kenneth Smith Consideration                                                                        DOC
                                                                                                                                          Referencing
                                                                                                                                          planned phone call
                                                                                                                                          on 4/25/17 8:30
117 20170424-101821                       Earl Comstock Paul Farmer     Re: Mexico                                                        am                 CSC   DOC


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                                                                          RE: Revised DOC Sugar Proposal
                                                                          for GOM"s/Mexican Industry"s
118 20170425-103000                        Sally Gannon    Robert Cassidy Consideration                                                                         ASC     DOC
                                                                          RE: Revised DOC Sugar Proposal
                                                                          for GOM"s/Mexican Industry"s       Comments on Key Points April     References
119 20170425-62312    20170425-62312-01    Aristeo Lopez   Sally Gannon Consideration                        25.docx                          discussion that day GOM   DOC

                                                                                                                                              References
                                                                                                                                              meeting from that
                                                                                                                                              morning; also
                                                                                                             Comments on Key Points April     discussed on
120 20170425-63430    20170425-63430-01    Juan Cortina    Earl Comstock Fwd: Azúcar- Mexican proposal       25.docx                          4/27/17 at 3:30   MEX

                                                                        PRE DECISIONAL INFORMATION; USDA Increases FY 2016 U.S.
121 20170427-85650    20170427-85650-01    Robert Cassidy Earl Comstock NOT FOR PUBLIC DISCLOSURE   Sugar Overa...pdf                                           ASC
                                                                        Re: PRE DECISIONAL
                                                                        INFORMATION; NOT FOR PUBLIC
122 20170427-95905                         Earl Comstock Robert Cassidy DISCLOSURE                                                                              ASC     DOC

123 20170427-105951                        Earl Comstock Sally Gannon     Re: if you know

                                                                    PREDECSIONAL INFORMATION;                17-4-28 Mexican and US Refined
124 20170428-114853 20170428-114853-01 Robert Cassidy Earl Comstock NOT FOR PUBLIC DISCLOSURE                Prices.pdf                                         ASC
                                                                                                             17-4-29 Mexican Estandar and
                      20170428-114853-02                                                                     US Raw Sugar Prices.pdf                            ASC

                                                                        PREDECISIONAL INFORMATION;
125 20170428-25451                         Robert Cassidy Earl Comstock NOT FOR PUBLIC DISCLOSURE                                                               ASC     USDA

                                                                        Re: PREDECISIONAL                                                     References phone
                                                                        INFORMATION; NOT FOR                                                  call with doemstic
126 20170428-32932    20170428-32932-01    Earl Comstock Robert Cassidy PUBLIC DISCLOSURE                                                     industry 5:30 pm ASC      USDA

127 20170428-95245                         Gregory Spak    Sally Gannon   RE: update on Mexico sugar deal                                                       IMP     DOC


                                                                                        11
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                                                                      Re: Following up on
128 20170428-112145                       Kenneth Smith Earl Comstock Secretaries´call                                                      GOM         DOC
                                                                      Fwd: See Import Wedge Idea in
129 20170429-94405    20170429-94405-01   Sally Gannon Earl Comstock attached                               3 choices.xlsx                  USDA        DOC

130 20170429-122446                       Earl Comstock Sally Gannon   Re: Mexican counter proposal                                         MEX         DOC
                                                                       Fwd: Letter to Honorable Wilbur                                      CRA (Corn
131 20170429-54348                        Earl Comstock Sally Gannon Ross                                                                   Refiners)
                                                                       PRE DECISIONAL
                                                                       INFORMATION; NOT FOR
132 20170429-71226    20170429-71226-01   Robert Cassidy Earl Comstock PUBLIC DISCLOSURE               16-12-12 GOM Proposal.docx           ASC
                                                                       FW: Mexico"s latest proposal-
133 20170429-80336    20170429-80336-01   Robert Cassidy Earl Comstock Close-Hold                      Sugar- Mexicos proposal.docx         ASC         DOC

134 20170430-10046                        Earl Comstock Paul Farmer     Re: Mexico                                                          CSC         DOC

135 20170501-54411                        Gregory Spak   Earl Comstock RE: update on Mexico sugar deal                                      IMP         DOC
                                          Jeffrey                      RE: Mexican Sugar Letter re
136 20170502-21544                        Grimson        Sally Gannon Termination                                                           BAT (Batory) DOC
                                                                                                            2017_05_04 Imperial Sugar
                                                                                                            Letter to the Honorable Sonny
137 20170504-115524 20170504-115524-01 Michael Gorrell Earl Comstock letter to Secretary Perdue             Perdue.pdf                      IMP
                                                                                                            5.4..2017 Sugar Letter to
138 20170505-113551 20170505-113551-01 Ryan Weston       Earl Comstock RE: invitation: Mexico               Trump.pdf                       USDA        ASC

                                                                        PREDECISIONAL INFORMATION;
139 20170509-52552                        Robert Cassidy Sally Gannon   NOT FOR PUBLIC DISCLOSURE                                           ASC

                                                                                                            REASONS WHY MEXICO SHOULD
140 20170511-111643 20170511-111643-01 Barbara Fesco Sally Gannon       FW: FSA Reasoning                   RECONSIDER 99.2 to Jason.docx   USDA
                                                                        RE: PREDECISIONAL
141 20170512-40100                        Sally Gannon   Robert Cassidy INFORMATION                                                         ASC         DOC




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                                                                                                                2017_05_15 Imperial Sugar
                                                                                                                Letter to the Honorable Wilbur
                                                                            Letter from Imperial Sugar to       Ross and Honorable Sonny
142 20170515-100336 20170515-100336-01 Michael Gorrell Wilbur Ross          Secretary Ross                      Perdue.pdf                        IMP
                                       Wendy
143 20170515-90001 20170515-90001-01 Teramoto          Wilbur Ross          Fwd: document                   Sugar.pdf                             MEX
                                                                            Additional information for
                                                        Wendy               Secretary Ross on Mexican sugar US Imports from Mexico of Sugar
144 20170516-84822    20170516-84822-01   Kenneth Smith Teramoto            exports                         Pct Distribution 2016.pdf             GOM

145 20170516-14619                        Earl Comstock Kenneth Smith Re: USDOC proposal?                                                         GOM   DOC

                                                        Wendy               MEXICAN SUGAR SUSPENSION            MEXICAN SUGAR SUSPENSION
146 20170516-51420    20170516-51420-01   Kenneth Smith Teramoto            AGREEMENT may 2017                  AGREEMENT may 2017.docx           GOM   DOC
                                                                            RE: MEXICAN SUGAR
                                                        Wendy               SUSPENSION AGREEMENT may            MEXICAN SUGAR SUSPENSION
147 20170516-62819    20170516-62819-01   Kenneth Smith Teramoto            2017                                AGREEMENT may 16.docx             GOM   DOC

                                                                                                                MEXICAN SUGAR SUSPENSION
148 20170517-93300    20170517-93300-01   Wilbur Ross      J. Pepe Fanjul   Proposal for Discussion             AGREEMENT may 2017.docx           DOC

                                                                                                                MEXICAN SUGAR SUSPENSION
149 20170517-104101 20170517-104101-01 Earl Comstock Robert Cassidy Fwd: Proposal for Discussion                AGREEMENT may 2017.docx           ASC   DOC
                                                                                                                Letter -- Secretary Wilbur Ross
150 20170517-15259    20170517-15259-01   J. Pepe Fanjul   Wilbur Ross RE: Proposal for Discussion              (2017-05-17).pdf                  DOC   ASC
                                                                       Re: PREDECISIONAL
                                                                       INFORMATION; NOT FOR PUBLIC
151 20170517-15655                        Earl Comstock Robert Cassidy DISCOSURE                                                                  ASC   DOC

                                                                            PREDECISIONAL INFORMAITON;
152 20170519-113011                       Robert Cassidy Sally Gannon       NOT FOR PUBLIC DISCLOSURE
                                          Brooke                                                                Letter -- Secretary Wilbur Ross
153 20170522-45348    20170522-45348-01   Alexander      Wilbur Ross        Fwd: Mexico Trade Case              (2017-05-21).pdf                  ASC
                      20170522-45348-02                                                                         Enclosure (2017-05-21).pdf        ASC


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                                               Case 1:17-cv-00214-LMG Document 67-2                    Filed 10/11/18   Page 14 of 24
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154 20170523-120431                       Kenneth Smith Earl Comstock Re: News on sugar?                                                                   GOM    DOC

155 20170524-110353                       Earl Comstock Kenneth Smith Re: News on sugar?                                                                   GOM    DOC
                                                                                                            Revised Key Elements DOC
156 20170524-113418 20170524-113418-01 Earl Comstock Kenneth Smith Revised Proposal                         052417 8 PM.docx                               DOC
                                                                                                            Revised Key Elements DOC
157 20170525-102933 20170525-102933-01 Earl Comstock Robert Cassidy Further Revised Draft Proposal          052517.docx                                    DOC
                                                                    Re: Further Revised Draft
158 20170526-55950                     Earl Comstock Robert Cassidy Proposal

                                                                                                            17-5-30 ASC Recommendations
                                                                       PREDECISIONAL INFORMATION;           for Response to GOM May 24
159 20170530-23648    20170530-23648-01   Robert Cassidy Earl Comstock NOT FOR PUBLIC DISCLOSURE            proposal.docx                                  ASC

                                                                                                            17-5-30 ASC Recommendation
                                                                                                            for revision of the suspension
                      20170530-23648-02                                                                     agreements.docx                                ASC

                                                                                                       17-5-30 ASC Recommendations
                                                                       PREDECISIONAL INFORMATION; for Response to GOM May 24
160 20170530-24227    20170530-24227-01   Robert Cassidy Earl Comstock NOT FOR PUBLIC DISCLOSURE       proposal.docx                                       ASC    DOC
                                                                       FW: (BFW) Visit to DC Coincides
                                                                       w/Sugar Deal Deadline: Mexico’s
161 20170601-31200                        Sally Gannon Earl Comstock Guajardo                                                                              USDA

162 20170601-45231                        Robert Cassidy Sally Gannon   PREDECISIONAL INFORMATION                                                          ASC

                                                                   Mexican sugar counterproposal          Revised Key Elements DOC June
163 20170601-103127 20170601-103127-01 Kenneth Smith Earl Comstock June 1st 2017                          1 2017.docx                                      MEX
                                                                                                          Revised Key Elements DOC June Referencing call
164 20170602-73605    20170602-73605-01   Earl Comstock Robert Cassidy Offer from GoM and Call Today 1 2017.docx                        6/2/17             ASC    DOC
                                                                                                                                        Referencing call
165 20170602-111545                       Earl Comstock Robert Cassidy Re: ASC call at 1:30 today is good                               1:30 pm            ASC    DOC


                                                                                       14
                                              Case 1:17-cv-00214-LMG Document 67-2                   Filed 10/11/18   Page 15 of 24
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                                                                      Sugar Suspension Agreement          06.02.2017 Letter from K.
166 20170602-35027   20170602-35027-01   Alyssa Pompeil Earl Comstock Renegotiations                      Orsini.pdf                                          CSC

                                                                                                          17-6-2 ASC Recommendations
                                                                      PREDECISIONAL INFORMATION;          for Response to GOM June 1
167 20170602-62933   20170602-62933-01   Robert Cassidy Earl Comstock NOT FOR PUBLIC DISCLOSURE           Proposal.pdf                                        ASC

                                                                                                          17-6-2 ASC Recommendations
                                                                      PREDECISIONAL INFORMATION;          for Response to GOM June 1
168 20170602-72252   20170602-72252-01   Robert Cassidy Earl Comstock NOT FOR PUBLIC DISCLOSURE           Proposal.pdf                                        ASC

                                                                                                          17-6-2 ASC Recommendation for
                                                                                                          revision of the suspension
                                                                                                          agreements (April 24 propsal as
                                                                                                          modified by GOM May 24 and
                                                                                                          June 1 proposals and ASC June 2
                     20170602-72252-02                                                                    recommendtions.pdf
                                         Jason                       Fwd: Additional sugar -              Sugar Suspension Agreement
169 20170603-84848   20170603-84848-01   Hafemeister   Earl Comstock background                           v2.docx                                             USDA
                                                       Jason
170 20170603-90647                       Earl Comstock Hafemeister   Re: Additional sugar - background                                                        DOC

                                                                                                          17-6-2 ASC Recommendations
                                                                                                          for Response to GOM June 1        Possible 6/3/17
171 20170603-95838   20170603-95838-01   Earl Comstock Kenneth Smith US Sugar Response                    Proposal.pdf                      11AM              DOC
                                                                     Mexico comments to US Sugar          MX comments to US proposal
172 20170603-40332   20170603-40332-01   Kenneth Smith Earl Comstock Response                             June 3 2017.docx                                    GOM    DOC
                                                                     Call Between Sec Ross and Min
173 20170603-54418                       Earl Comstock Kenneth Smith Guajardo                                                                                 GOM
                                                                                                          DOC KEY TERMS OF PROPOSAL
                                                                                                          JUNE 4, 2017 8-15 AM DRAFT        References call
174 20170604-82324   20170604-82324-01   Earl Comstock Kenneth Smith Revised DoC Proposal                 CLEAN.docx                        that day          DOC

175 20170604-92430                       Earl Comstock Kenneth Smith Re: Revised DoC Proposal                                                                 DOC


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                                               Case 1:17-cv-00214-LMG Document 67-2                  Filed 10/11/18   Page 16 of 24
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                                                                       FW: PREDECISIONAL
                                                        Jason          INFORMATION; NOT FOR PUBLIC
176 20170604-94600                        Barbara Fesco Hafemeister    DISCLOSURE                                                                        USDA    DOC

177 20170604-100611                       Earl Comstock Kenneth Smith Increases to Export Limit                                                          DOC
                                                                      Re: PREDECISIONAL
                                                        Jason         INFORMATION; NOT FOR PUBLIC
178 20170604-100821                       Earl Comstock Hafemeister   DISCLOSURE                                                                         USDA    DOC

                                                                                                      DOC KEY TERMS OF PROPOSAL
179 20170605-22242    20170605-22242-01   Kenneth Smith Earl Comstock Mexican response to US proposal JUNE 4 2017 8 pm.docx                              GOM

                                                                       Fwd: Comments on GoM         GOM KEY TERMS OF PROPOSAL References call
180 20170605-83227    20170605-83227-01   Earl Comstock Robert Cassidy Response Needed ASAP         JUNE 4 2017 8 pm.docx     that morning               DOC
                                                                       Re: Mexican response to US
181 20170605-92932                        Kenneth Smith Earl Comstock proposal                                                                           GOM
                                                                       RE: Comments on GoM Response
182 20170605-100200                       Sally Gannon Earl Comstock Needed ASAP                                                                         USDA    DOC

183 20170605-14507                        Earl Comstock Kenneth Smith Re: Pending items                                                                  GOM     DOC

                                                                       PREDECISIONAL INFORMATION; 17-6-5 ASC proposal June 5,
184 20170605-20440    20170605-20440-01   Robert Cassidy Earl Comstock NOT FOR PUBLIC DISCLOSURE   2017 rev 1.pdf                                        ASC
                                                                       Re: PREDECISIONAL
                                                                       INFORMATION; NOT FOR PUBLIC
185 20170605-21044                        Earl Comstock Robert Cassidy DISCLOSURE                                                                        ASC     DOC

                                                                       PREDECISIONAL INFORMATION;         17-6-5 ASC proposal June 5,
186 20170605-21235    20170605-21235-01   Robert Cassidy Earl Comstock NOT FOR PUBLIC DISCLOSURE          2017 rev 2.pdf                  6/5/2017, 2:30PM ASC   DOC
                                                                                                          17-6-5 ASC proposal June 5,
187 20170605-22027    20170605-22027-01   Earl Comstock Kenneth Smith US Sugar Response                   2017 rev 2.pdf                                   DOC
                                                                                                          17-6-5 ASC proposal June 5 2017
188 20170605-44559    20170605-44559-01   Kenneth Smith Earl Comstock FW: US Sugar Response               rev 2 (002).pdf                                  GOM   DOC



                                                                                     16
                                               Case 1:17-cv-00214-LMG Document 67-2                  Filed 10/11/18   Page 17 of 24
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189 20170605-51745                       Kenneth Smith Earl Comstock Re: US Sugar Response                                                                   GOM    DOC

                                                                      PREDECISIONAL INFORMATION;          17-6-5 TRQ Increases Since
190 20170605-52156   20170605-52156-01   Robert Cassidy Earl Comstock NOT FOR PUBLIC DISCLOSURE           2008.pdf                                           ASC

191 20170605-52623                     Kenneth Smith Earl Comstock Re: US Sugar Response                                                                     GOM    DOC
                                                                   Revised Amendments to                  DOC PROPOSAL June 5 2017
192 20170605-111656 20170605-111656-01 Earl Comstock Kenneth Smith Suspension Agreements                  2115.docx                                          DOC
                                                                   MX comments to US sugar draft          DOC PROPOSAL June 5 2017
193 20170606-125657 20170606-125657-01 Kenneth Smith Earl Comstock June 6 12:49 am                        comentarios.docx                                   GOM    DOC
                                                                                                          DRAFT AGREEMENT June 6
194 20170606-55942   20170606-55942-01 Earl Comstock Robert Cassidy Draft Agreement for Discussion        2017.docx                         6/6/2017, 10AM   DOC
                                                     Jason          Re: Talking Points and Draft
195 20170606-82557                     Earl Comstock Hafemeister    Agreement                                                                                USDA
                                                                    Extraordinary Circumstances           Extraordinary Circumstances
196 20170606-114229 20170606-114229-01 Earl Comstock Kenneth Smith Language                               Language                                           DOC

                                                                       SUGAR FROM MEXICO                  17-6-6 AMERICAN SUGAR
197 20170606-124420 20170606-124420-01 Robert Cassidy Wilbur Ross      PREDECISIONAL INFORMATION          COALITION letter to Ross.pdf                       ASC
                                                                                                          DRAFT AGREEMENT rev2 June 6
198 20170606-10900   20170606-10900-01   Earl Comstock Robert Cassidy URGENT - Additional Provision       2017.docx                                          DOC
                                                                      Further Revised Amendment           DRAFT AGREEMENT rev2 June 6
199 20170606-11030   20170606-11030-01   Earl Comstock Kenneth Smith Language                             2017.docx                                          DOC
                                                                      Mexico Sugar PREDECISIONAL
200 20170606-15435                       Robert Cassidy Wilbur Ross   INFORMATION                                                                            ASC

                                                                      Re: Mexican Sugar
201 20170606-21023                       Earl Comstock Robert Cassidy PREDECISIONAL INFORMATION                                                              ASC    DOC

                                                                                                          Draft Sugar AD Amendment
202 20170607-102844 20170607-102844-01 Earl Comstock Robert Cassidy Draft Agreements                      Latest 060717 Final to GOM.docx                    DOC




                                                                                     17
                                                  Case 1:17-cv-00214-LMG Document 67-2                   Filed 10/11/18   Page 18 of 24
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                                                                                                              Draft Sugar CVD Amendment
                                                                                                              Latest 060717 FINAL to
                        20170607-102844-02                                                                    GOM.docx                          DOC

                                                                     PREDECISIONAL INFORMATION; 17-6-6 DRAFT AGREEMENT rev2
 203 20170607-115449 20170607-115449-01 Robert Cassidy Earl Comstock NOT FOR PUBLIC DISCLOSURE        June 6 2017.docx                          ASC
                                                                     Relaying USDA idea on Additional
 204 20170607-13600                     Sally Gannon Earl Comstock Needs Language                                                               USDA    DOC
                                                       Adrienne      FW: IL ag groups support quick
204A 20170607-35500 20170607-35500-01 Sally Gannon Waite             sugar negotiation                Commerce.docx                             IL AG

                                                                                                              Draft Sugar AD Amendment
 205 20170607-41300     20170607-41300-01    Sally Gannon   Kenneth Smith FW: Sugar- next steps               Latest 060717 Final to GOM.docx   DOC
                                                                                                              Draft Sugar CVD Amendment
                                                                                                              Latest 060717 FINAL to
                        20170607-41300-02                                                                     GOM.docx
                                                                       Re: PREDECISIONAL
                                                                       INFORMATION; NOT FOR PUBLIC
 206   20170608-60440                     Earl Comstock Robert Cassidy DISCLOSURE                                                    6/7/2017   ASC     DOC
                                                        Jason                                        Letter -- Secretary Wilbur Ross
 207   20170608-63611 20170608-63611-01 Earl Comstock Hafemeister      US Sugar Claims for Review    (2017-06-07).pdf                           DOC     ASC
                                                                                                     17-6-5 TRQ Increases Since
                       20170608-63611-02                                                             2008.pdf                                   DOC     ASC
                                                                                                     DRAFT AGREEMENT rev2 June 6
 208   20170608-100500 20170608-100500-01 Sally Gannon Mike Gorrell RE: Sugar                        2017.docx                                  IMP     DOC
                                                                                                     Letter -- Secretary Wilbur Ross
 209   20170608-123203 20170608-123203-01 Ron Lord      Earl Comstock FW: US Sugar Claims for Review (2017-06-07).pdf                           UDSA    DOC
                                                                                                     17-6-5 TRQ Increases Since
                       20170608-123203-02                                                            2008.pdf

 210 20170608-22109                          Michael Gorrell Sally Gannon RE: Sugar
                                                                          RE: PREDECISIONAL
                                                                          INFORMATION; NOT FOR PUBLIC
 211 20170608-41800     20170608-41800-01    Robert Cassidy Earl Comstock DISCLOSURE                                                            ASC     DOC


                                                                                         18
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                                                                                                                 Draft Sugar AD Amendment
 212 20170608-44328    20170608-44328-01   Aristeo Lopez   Sally Gannon    RE: Sugar- next steps                 Latest 06 08 17.docx                                   GOM    DOC
                                                                                                                 Draft Sugar CVD Amendment
                       20170608-44328-02                                                                         Latest 06 08 17 (003).docx                             GOM    DOC
 213 20170608-53656                        Aristeo Lopez   Sally Gannon    RE: Sugar- next steps                                                                        GOM    DOC
 214 20170608-55147                        Aristeo Lopez   Sally Gannon    RE: Sugar- next steps                                                                        GOM    DOC

 215 20170608-62343                        Sally Gannon    Aristeo Lopez   RE: Sugar- next steps                                                                        GOM    DOC

 216 20170609-121507                       Earl Comstock Sally Gannon      RE: US Sugar Claims for Review                                                               DOC
                                                                                                                 DRAFT AGREEMENT rev2 June 6
216A 20170609-122500 20170609-122500-01 Sally Gannon       Kevin Orsini    Sugar                                 2017 clean.docx                                        DOC

 217 20170609-12253                        Kenneth Smith Earl Comstock Re: Sugar- next steps                                                                            GOM    DOC

                                                                                                                 17-6-9 ASC recommendations for
                                                                                                                 technical changes to the June 7
                                                                        PREDECISIONAL INFORMATION;               Draft Sugar CVD
 218 20170609-31635    20170609-31635-01   Robert Cassidy Earl Comstock NOT FOR PUBLIC DISCLOSURE                Amendment.docx                                         ASC    DOC


                                                                                                                 17-6-9 ASC recommendations for
                                                                                                                 technical changes to June 7 Draft
                       20170609-31635-02                                                                         Sugar AD Amendment.docx                                ASC    DOC
                                                                                                                                                     References
                                                                                                                                                     possible phone call
                                                                        Re: PREDECISIONAL                                                            between Pepe
                                                                        INFORMATION; NOT FOR PUBLIC                                                  Fanjul and
 219 20170609-32627                        Earl Comstock Robert Cassidy DISCLOSURE                                                                   Secretary Ross      ASC   DOC

                                                                       Re: insert from GOM/industry in
 220 20170609-72549                        Sally Gannon  Earl Comstock main Addl Needs paragraph                                                                        USDA   DOC
                                                         Jason         Re: Thank you - chart with final
 221 20170610-123822                       Earl Comstock Hafemeister   concerns                                                                                         USDA   DOC


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                                               Case 1:17-cv-00214-LMG Document 67-2                    Filed 10/11/18   Page 20 of 24
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                                                        Jason
222 20170610-63816                        Earl Comstock Hafemeister     Re: Sugar Concerns                                                                      USDA   DOC
                                                                        Re: Letter -- Secretary Wilbur
223 20170610-72742                        Wilbur Ross    J. Pepe Fanjul Ross (2017-06-07).pdf                                                                   ASC    DOC
                                                                        Re: proposed revised sugar
224 20170611-95439                        Earl Comstock Kenneth Smith schedule                                                                                  GOM    DOC
                                                                        RE: PREDECISIONAL
                                                                        INFORMATION; NOT FOR PUBLIC
225 20170612-102553                       Robert Cassidy Earl Comstock DISCLOSURE                                                                               ASC    DOC
                                                                        RE: PREDECISIONAL
                                                                        INFORMATION; NOT FOR PUBLIC                                          References
226 20170612-113843                       Robert Cassidy Earl Comstock DISCLOSURE                                                            possible meeting   ASC    DOC
                                                                                                                                             6/12/2017,
227 20170612-121255                    Robert Cassidy Earl Comstock RE: Side Agreement                                                       1:30PM             ASC    DOC
                                                                    RE: Meeting today to initial sugar Draft Sugar CVD Amendment
228 20170612-125838 20170612-125838-01 Sally Gannon Kenneth Smith term sheet                           Latest 061217.docx                                       GOM    DOC
                                                                                                       Draft Sugar AD Amendment
                    20170612-125838-02                                                                 Latest 061217.docx                                       GOM    DOC

                                                                       PREDECISIONAL INFORMATION;           17-6-12 USDA and DOC
229 20170612-12839    20170612-12839-01   Robert Cassidy Earl Comstock NOT FOR PUBLIC DISCLSURE             Understanding.pdf                                   ASC    DOC

230 20170612-45900                        Sally Gannon   Aristeo LopezSection V.B.4.b change                                                                    DOC
                                                                      Re: Meeting today to initial sugar                                     6/12/2017,
231 20170612-50916                        Kenneth Smith Earl Comstock term sheet                                                             5:30PM             GOM    DOC
                                                                      RE: Meeting today to initial sugar
232 20170612-51231                        Aristeo Lopez Sally Gannon term sheet                                                                                 GOM    DOC
                                                                      RE: Meeting today to initial sugar
233 20170612-51900                        Sally Gannon Aristeo Lopez term sheet                                                                                 GOM    DOC
                                                                                                            Draft Sugar CVD Amendment
234 20170612-62600    20170612-62600-01   Sally Gannon   Kenneth Smith Drafts as they stand                 Final 061217.docx                                   DOC
                                                                                                            Draft Sugar AD Amendment Final
                      20170612-62600-02                                                                     061217.docx



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235 20170613-105424                        Earl Comstock Sally Gannon      FW: Two amendments                                                               USDA   DOC

                                                                           RE: Changes in CVD Amendment
236 20170613-114722                        Ronald Lord     Sally Gannon    for May 1st Concept                                                              USDA   DOC
                                                                                                               Draft Sugar CVD Amendment
237 20170613-121957 20170613-121957-01 Sally Gannon        Aristeo Lopez   RE: Drafts as they stand            Final 061317 .docx                           DOC
                                                                                                               Draft Sugar AD Amendment Final
                      20170613-121957-02                                                                       061317.docx
                                           Jason                           RE: Please see revisions in the
238 20170613-125428                        Hafemeister     Sally Gannon    CVD draft amendment                                                              USDA   DOC
                                                                                                               Draft Sugar CVD Amendment
239 20170613-20443    20170613-20443-01    Aristeo Lopez   Sally Gannon    RE: Drafts as they stand            Mex comments.docx                            GOM    DOC
                                                                                                               Draft Sugar CVD Amendment
240 20170613-21300    20170613-21300-01    Sally Gannon    Earl Comstock FW: Drafts as they stand              Mex comments.docx                            MEX    DOC

241 20170613-24800                         Sally Gannon    Earl Comstock RE: Drafts as they stand                                                           MEX    DOC
242 20170613-44124                         Ronald Lord     Sally Gannon RE: Drafts as they stand                                                            USDA   DOC
                                                                                                               Draft Sugar CVD Amendment
243 20170613-44703    20170613-44703-01    Sally Gannon    Aristeo Lopez   RE: Drafts as they stand            Final 061317 REV.docx                        GOM    DOC
                                                                                                               Draft Sugar AD Amendment Final
                      20170613-44703-02                                                                        061317.docx
                                                         Jason             Can we have a call ASAP on USDA
244 20170613-54421                         Earl Comstock Hafemeister       Pre and Post April 1                                                 6/13/2017   DOC
                                           Jason                           RE: Can we have a call ASAP on
245 20170613-63305                         Hafemeister   Earl Comstock     USDA Pre and Post April 1                                            6/13/2017   UDSA   DOC

246 20170613-74400                         Sally Gannon    Aristeo Lopez   RE: Drafts as they stand

                                                                                                               Draft Sugar CVD Amendment
247 20170613-75736    20170613-75736-01    Sally Gannon    Aristeo Lopez   RE: Drafts as they stand            Final 061317 REV 8 PM tc.docx                GOM    DOC
                                                                                                               Draft Sugar CVD Amendment
                                                                                                               Final 061317 REV 8 PM
                      20170613-75736-02                                                                        clean.docx


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                                                                                                              Draft Sugar AD Amendment Final
                      20170613-75736-03                                                                       061317 8 PM tc.docx
                                                                                                              Draft Sugar AD Amendment Final
                      20170613-75736-04                                                                       061317 8 PM clean.docx
                                                          Jeffrey                                             CVD Draft Amendment Public
247A 20170614-53400   20170614-53400-01   Sally Gannon    Grimson         FW: Draft initialed amendments      ACCESS 061417.pdf                DOC
                                                                                                              AD Draft Amendment Public
                      20170614-53400-02                                                                       ACCESS 061417.pdf
                                                                                                              CVD Draft Amendment Public
247B 20170614-53700   20170614-53400-01   Sally Gannon    Rick Pasco      FW: Draft initialed amendments      ACCESS 061417.pdf                DOC
                                                                                                              AD Draft Amendment Public
                      20170614-53400-02                                                                       ACCESS 061417.pdf
                                                          Jeffrey
247C 20170614-62556                       Sally Gannon    Grimson         RE: Draft initialed amendments                                       BAT

 248 20170615-15315   20170615-15315-01   Robert Cassidy Earl Comstock Sugar Industry Press Release         17-6-15 Press Release.pdf          ASC
                                          Jason                        RE: Pre April 1 not subject to split
 249 20170626-92517                       Hafemeister    Sally Gannon language                                                                 USDA   DOC
                                                                       Re: Pre April 1 not subject to split
 250 20170626-93021                       Earl Comstock Sally Gannon language                                                                  USDA   DOC

                                                          Jason           RE: Pre April 1 not subject to split Chart summarising comments
 251 20170626-94400   20170626-94400-01   Sally Gannon    Hafemeister     language                             062617 updated.docx             USDA   DOC

 252 20170626-23200                       Sally Gannon    Aristeo Lopez
                                                                      RE: signing
                                                                      Re: Logistics for signature of
 253 20170626-64345                       Earl Comstock Kenneth Smith suspension agreements                                                    GOM    DOC

 254 20170627-32925                       Earl Comstock Paul Farmer       Re: Proposal for saving CSC Sugar                                    CSC    DOC
                                          Jason
 255 20170627-54056                       Hafemeister   Sally Gannon      RE: Proposal for saving CSC Sugar                                    CSC    USDA

 256 20170629-62728                       Earl Comstock Paul Farmer       Re: CSC Sugar                                                        CSC    DOC



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                                                                                Email and Document Log


                                                                      RE: Logistics for signature of
257 20170629-44230                        Kenneth Smith Earl Comstock suspension agreements                                               GOM   DOC
                                                                      Re: Logistics for signature of
258 20170629-55702                        Earl Comstock Kenneth Smith suspension agreements                                               GOM   DOC

259 20170629-62126                        Sally Gannon    Kenneth Smith CVD Amendment - minor change                                      DOC
                                                                                                              Final CVD Sugar Amendment
                                                                        AD and CVD final amendment            063017 1135 AM TO GOM-
260 20170630-114600 20170630-114600-01 Sally Gannon       Kenneth Smith texts                                 IND.docx                    DOC
                                                                                                              Final AD Sugar Amendment
                                                                                                              063017 1135 AM TO GOM-
                     20170630-114600-02                                                                       IND.docx                    DOC
                                                                          RE: AD and CVD final amendment
261 20170630-12335                        Ricardo Rojas   Sally Gannon    texts                                                           MEX   DOC
                                                                                                              Final CVD Sugar Amendment
262 20170630-32300   20170630-32300-01    Sally Gannon    Kenneth Smith FW: Please see these versions         063017 315 PM.docx          DOC
                                                                                                              Final AD Sugar Amendment
                     20170630-32300-02                                                                        063017 315 PM.docx          DOC
263 20170630-43433                        Ricardo Rojas   Sally Gannon    RE: Please see these versions                                   MEX   DOC
                                                                                                              CVD JCB Signature 06 30
264 20170630-44341   20170630-44341-01    Ricardo Rojas   Sally Gannon    U/S JCB signature                   2017.pdf                    GOM
                                                                                                              Final Signed CVD Sugar
265 20170630-51300   20170630-51300-01    Sally Gannon    Ricardo Rojas   RE: U/S JCB signature               Amendment 063017.pdf        GOM   DOC
266 20170630-53800                        Sally Gannon    Ricardo Rojas   RE: U/S JCB signature
                                                                                                              Final Signed CVD Sugar
267 20170630-61200   20170630-61200-01    Sally Gannon    Robert Cassidy RE: Sugar from Mexico                Amendment 063017.pdf        ASC   DOC
                                                                                                              Final Signed AD Sugar
                     20170630-61200-02                                                                        Amendment 063017.pdf        ASC   DOC
                                                                                                              Final Signed CVD Sugar
268 20170630-61635   20170630-61635-01    Sally Gannon    Greg Spak       RE: Agreements                      Amendment 063017.pdf        IMP   DOC
                                                                                                              Final Signed AD Sugar
                     20170630-61635-02                                                                        Amendment 063017.pdf
                                                                                                              Final Signed CVD Sugar
269 20170630-61826   20170630-61826-01    Sally Gannon    Paul Farmer     Sugar amendments                    Amendment 063017.pdf        DOC


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                                                                                                     Final Signed AD Sugar
                      20170630-61826-02                                                              Amendment 063017.pdf                       DOC
                                                          Jeffrey                                    Final Signed CVD Sugar
269A 20170630-62500   20170630-62500-01   Sally Gannon    Grimson        FW: AD/CVD sugar amendments Amendment 063017.pdf                       DOC
                                                                                                     Final Signed AD Sugar
                      20170630-62500-02                                                              Amendment 063017.pdf
                                                                                                     Final Signed CVD Sugar
269B 20170630-62700   20170630-62700-01   Sally Gannon    Rick Pasco     FW: AD/CVD sugar amendments Amendment 063017.pdf                       DOC
                                                                                                     Final Signed AD Sugar
                      20170630-62700-02                                                              Amendment 063017.pdf
                                                          Jeffrey
269C 20170630-63800                       Sally Gannon    Grimson        RE: AD/CVD sugar amendments                                            BAT

                                                                                                             COURTESY TRANSLATION Mexico
 270 20170630-72622   20170630-72622-01   Ricardo Rojas   Earl Comstock Press release                        SA Press release 06 30 2017.docx   MEX   DOC
                                                                                                             Boletín 100 Mex-EUA-
                      20170630-72622-02                                                                      Azucar.docx                        MEX   DOC
                                                                                                             Boletín 100 Mex-EUA-
 271 20170630-73043   20170630-73043-01   Ricardo Rojas   Earl Comstock RE: Please see these versions        Azucar.docx                        MEX   DOC

                                                                                                             COURTESY TRANSLATION Mexico
                      20170630-73043-02                                                                      SA Press release 06 30 2017.docx   MEX   DOC

 272 20170703-10020                       Paul Farmer     Sally Gannon   Mexico Suspension Agreement                                            CSC




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